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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Criminal Action No. 21-107 (RDM)
BRUNO JOSEPH CUA,

Defendant.

 

 

DECLARATION OF DR. ALISE CUA
Under 28 U.S.C. § 1746, I, Dr. Alise Cua, state the following:

1. I am the third-party custodian for Mr. Bruno Joseph Cua. By order of the Court, Mr. Cua
is confined to my home in Fulton County, Georgia.

2. From the period of Met] 5”, 2021 to fn 1 I% 2021, I attest that Bruno Joseph Cua has
fully complied with each and every condition of his pre-trial release.

 

3. I attest that if I become aware or have reason to believe that Bruno Joseph Cua has
violated or will violate any conditions of his release, I will immediately report this
information to the Pretrial Services Agency at (202) 442-1000.

I so declare, under penalty of perjury, that the foregoing is true and correct.

Executed on: fpett (Z , 2021

Dr. Alise Cua
